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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA           :
                                   :
                                   :          20-cr-188-2 (JSR)
          -v-                      :
                                   :          MEMORANDUM ORDER
HAMID “RAY” AKHAVAN,               :
                                   :
     Defendant.                    :
                                   :
-----------------------------------x

JED S. RAKOFF, U.S.D.J.

     After substantial delays caused by the pandemic, this case is

firmly set for trial beginning March 1, 2021.            Defendant Hamid

“Ray” Akhavan now moves for pretrial release so that he can

adequately prepare for trial.       The Government argues that Akhavan

should   remain   in   custody   pending   trial   because   his   repeated

violations of this Court’s orders demonstrate that he is a flight

risk and a danger to the community.        Akhavan responds that he can

adequately   ameliorate the risks of flight and danger to the

community by staying in an apartment without visitors (other than

his counsel) and hiring private guards to supervise him day and

night.

     Not without some reservations given Akhavan’s prior behavior,

the Court finds that Akhavan cannot adequately prepare for trial

in this document-heavy case without such release, especially given

the limitations imposed by the pandemic on visitations by counsel

with incarcerated defendants.        Therefore, pursuant to 18 U.S.C.


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§ 3142(i), the Court orders Akhavan’s temporary release pending

trial, under strict conditions set forth below, including 24/7

supervision by armed guards at Akhavan’s expense.

                                 BACKGROUND

     On March 27, 2020, Hamid Akhavan was arrested in the Central

District of California on the S(1) superseding indictment filed in

this case.    Magistrate Judge John E. McDermott ordered Akhavan to

be released pending trial on conditions, including that he sign a

$5,000,000 personal recognizance bond secured by $250,000 cash,

with three cosigners; attend drug treatment; and not violate state

or federal laws.

     In August 2020, Pretrial Services alleged that Akhavan had

violated these conditions, including by using cocaine.          The Court

permitted briefing and conducted a hearing on September 4, 2020.

The Court credited those allegations, but rather than remanding

Akhavan to custody, the Court          ordered that Akhavan enter an

inpatient drug treatment program, that he be subject to GPS

monitoring, and that all other pretrial release conditions remain

in place.    The Court warned, “I’ve gone out on a limb here a little

bit. If you violate any of the conditions of supervised release

that were just imposed and are going to be implemented in the next

few days, you leave me with no choice but to remand you[.]”            Sept.

3, 2020 Tr. 25.




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     Nonetheless, Pretrial Services alleges that Akhavan continued

to violate the conditions of pretrial release, including by using

cocaine, lying to a police officer, and unlawfully possessing

firearms.     In November 2020, the Hollywood Police Department

arrested Akhavan for the alleged firearm possession, and he was

duly remanded.    In December 2020, this Court issued a writ of

habeas corpus ad prosequendum, and Akhavan was transferred to

federal custody and transported to this District for the jury trial

in this case, which is firmly scheduled to begin March 1, 2021.

He has been detained since that time, but the Court now considers

whether Akhavan should be released pending trial.

                            LEGAL STANDARD

            Even where a defendant would otherwise be detained, 18

U.S.C. § 3142(i) authorizes the “temporary release” of a defendant

“to the extent that the judicial officer determines such release

to be necessary for preparation of the person’s defense or for

another compelling reason.”

                              DISCUSSION

     Based upon the Government’s proffer, which the defense does

not credibly rebut,1 the Court finds for present purposes that


1 Akhavan pleaded “not guilty” to the associated state charges.
The Court’s findings on the present record should not be read to
suggest the outcome of any state court proceeding, which would
involve   more   stringent  evidentiary   rules   and   procedural
protections, a higher burden of proof, a more complete record, and
a right to trial by jury.

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Akhavan violated the conditions of pretrial release in at least

the following ways:

    •   Akhavan used cocaine while in inpatient drug treatment.

    •   Within one day of his release from inpatient drug treatment,

        he used cocaine again and apparently overdosed.

    •   At the hospital following that overdose, Akhavan falsely told

        a police officer that he was not on probation when he was, in

        fact, on probation for a state offense.

    •   On October 30, 2020, Akhavan missed his appointment for intake

        at an outpatient drug treatment program.

    •   On November 6, 2020, Hollywood Police Department officers

        found in Akhavan’s bedroom two firearms -- one of which was

        a semi-automatic pistol loaded with a high-capacity magazine

        carrying 12 rounds -- and a prescription bottle containing

        what appeared to be a dose of crack cocaine.2

        Without   substantially   denying    these   allegations,    Akhavan

responds that he suffers from a disease, drug addiction, and made



2  The Government also alleges that Akhavan “appears to be
attempting to threaten and interfere with at least one witness[]
in connection with his pending state firearm case.” Gov’t Ltr.,
ECF No. 144, at 1. The Court makes no finding about the veracity
of these allegations because Akhavan has not had a chance to
respond.   Nevertheless, the Court is troubled.     To reasonably
assure the safety of others, as stated more fully below, the Court
limits Akhavan’s ability to communicate. He will have no access
to the internet or to a cellular phone; he may communicate only by
landline, and only with his attorneys and with Pre-Trial Services,
except as authorized by Pre-Trial Services or the Court.

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poor choices because of that disease.                 The neuroscience of drug

addiction    doubtless       demonstrates     that    successful    recovery      is

immensely challenging and often begins with fits and starts, but

while the Court understands a relapse, the Court cannot condone

Akhavan’s     repeated    violations.          More    importantly,    Akhavan’s

firearm possession and his alleged attempt to influence a witness

extend far beyond a mere relapse and present a risk that Akhavan

might harm others or himself.

        On these facts, the Court has no difficulty concluding that

Akhavan presents both a flight risk and a danger to the community.

The Court must therefore ascertain whether “[any] condition or

combination of conditions will reasonably assure the appearance of

[Akhavan at trial] and the safety of any other person and the

community.”     18 U.S.C. § 3142(e)(1).         Akhavan argues that he could

hire    private   armed   guards      whose    constant      surveillance    would

reasonably assure his appearance at trial and the safety of other

persons and the community.            The Court adopted a similar approach

for Akhavan’s co-defendant, Ruben Weigand, to ameliorate the risk

that Weigand might use his substantial personal wealth and his

German citizenship to flee.           The Court agrees that private guards

could    ameliorate    the    risks    of    flight    and   of   danger    to   the

community.

        Even so, the Court would not ordinarily permit Akhavan’s

release on the conditions that he proposes.              A defendant generally


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cannot use his wealth to secure release from pretrial detention

when a defendant who is similarly situated, but for wealth, would

be afforded no such opportunity.             See United States v. Boustani,

932 F.3d 79, 82-83 (2d Cir. 2019)(affirming denial of bail, citing

a    “fundamental     principle     of       fairness”       sounding     in   equal

protection, because "[a] similarly situated defendant of lesser

means surely would be detained pending trial, and Boustani is not

permitted to avoid such a result by relying on his own financial

resources to pay for a private jail”).             The Court took a contrary

approach with Weigand because “[i]f defendants are to be treated

similarly,    without    regard    to    wealth,    then      Weigand   cannot    be

detained when an otherwise similarly situated indigent defendant

would be released.”      Opinion & Order, ECF No. 112, at 3.               Akhavan,

however, is a flight risk and a danger to the community for reasons

independent of his wealth.

      Usually, this would be the end of the matter, and the Court

would continue to remand Akhavan pending trial.                 But this case is

unusual.     Alongside    the     important     equal    protection       principle

articulated in Boustani, this Court must weigh a panoply of other

interests: the constitutional rights of Akhavan, his co-defendant,

and the public to a speedy trial; Akhavan’s right to access counsel

to   adequately     prepare   a   defense      during    a    pandemic;    and   the

interests of jurors, attorneys, courthouse staff, and other trial

attendees in avoiding exposure to COVID-19.              These interests would


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be jeopardized by attempting to conduct a complex, three-week,

document-heavy trial at this specific moment in the pandemic, while

the defendant remains in custody at the Metropolitan Correctional

Center (“MCC”).      This is for several reasons:

        First, unless the Court orders Akhavan’s temporary release,

Akhavan would not have sufficient access to counsel before and

during the trial.        To be sure, Akhavan has had many months to

confer with his counsel, and most of the Government’s documents

were produced months ago.        Nevertheless, in a complex, document-

heavy white-collar case like this, in the days leading up to trial

and during the trial itself, Akhavan and his counsel must be able

to regularly confer.

        Despite the efforts of the Bureau of Prisons (“BOP”), the

Court seriously doubts that the MCC will be able to afford Akhavan

a sufficient degree of in-person attorney-client contact at this

time.    Earlier this week, the Government represented that the MCC

“is currently allowing in-person visits, as well as arranging for

calls and video conference sessions, with defense counsel.”               Gov’t

Ltr., ECF No. 144, at 5 (emphasis added).              But the Government

cannot reasonably represent that regular attorney-client access

will continue.       The Court learned just yesterday that the MCC

placed two additional units under quarantine for suspected cases

of COVID-19.     Even if Akhavan’s unit is not one of those affected,

the odds are not in our favor: to adequately prepare his defense,


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Akhavan will need to have regular access to his counsel for the

next five weeks.   A lockdown at any point during that period could

preclude his access to counsel.

     Second, even if the Court ordered the MCC to permit such

consultations, the risks to Akhavan, his counsel, and others would

be significant.    Although the Court fervently hopes that measures

taken by the BOP will thwart any COVID-19 outbreak that may have

occurred at the MCC, given the present high level of cases and the

arrival of more transmissible, vaccine-resistant variants, the

Court has reason for concern.     The Court has a duty to ameliorate

any danger Akhavan poses to the community -- including the risk

that he might transmit the virus to other trial participants.          The

best way to ameliorate that risk is to place Akhavan into an

isolated setting -- precisely what Akhavan proposes.

     Third, if the Court were to keep Akhavan in custody, the

parties to this proceeding would face an unacceptable risk of

another delay or a mistrial.        The Court noted this risk when

releasing Weigand in October.     The Court’s rationale applies with

even more force now: “[t]he logistical challenges of arranging a

new trial date under present circumstances would be extraordinary

and the ensuing delays could jeopardize the defendants’ speedy

trial rights.”    Opinion & Order, ECF No. 112, at 5.      Tis trial has

been repeatedly rescheduled, with substantial efforts from all

involved.   Now, a firm trial date is finally in sight.         Witnesses


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and counsel are on the brink of boarding planes to fly in from

across the country.        If Akhavan remains at MCC under present

conditions, then there is a substantial risk that he could become

infected at some point during the next six weeks.           The Court finds

that permitting Akhavan’s temporary release into the custody of

private guards is necessary to ensure that this trial may proceed

on schedule.      Thus, the Court concludes that the “fundamental

principle of fairness” described in Boustani, 932 F.3d 79, 82,

must yield to the competing considerations set forth in 18 U.S.C.

§ 3142(i).     After all, the right to a speedy trial, unlike the

penumbral    principle    of   fairness   articulated     in   Boustani,   is

explicitly articulated in the Bill of Rights.            U.S. Const. amend.

VI.3

       For these reasons, the Court hereby orders that, once all

custodial holds are lifted (including any imposed by the California

state authorities), Akhavan shall be released pending trial on the

following conditions:

    1. All   conditions   of   pretrial   release   in    effect   prior   to

       Akhavan’s arrest in November 2020 remain in effect.




3 Moreover, Boustani did not consider the standards for temporary
emergency release under 18 U.S.C. § 3142(i). The Court does not
mean to suggest that no trial can presently proceed if it involves
a defendant detained at the MCC. This trial is especially complex
and, hence, especially long. The longer the trial, the longer the
window for a COVID-19 exposure that could beget a mistrial.

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    2. Immediately upon Akhavan’s release from custody, he shall be

       escorted to an apartment in Manhattan rented at his expense,

       the   location   of   which   shall    be   furnished   beforehand   to

       Pre-Trial Services and the Government.           He shall quarantine

       for four days and obtain a SARS-CoV-2 test on the fifth day.

       Until he tests negative, he must remain in quarantine except

       to obtain a SARS-CoV-2 test.

    3. Following his negative test result,4 Akhavan shall remain at

       his rented apartment at all times of day and night, except

       that he may leave -- under the supervision of armed security

       guards -- to meet his counsel at their New York office or

       hotel   room.     Any    other      exceptions   must   be   expressly

       authorized by Pre-Trial Services or this Court, in writing,

       in advance.

    4. Akhavan’s detention in the rented apartment will be secured

       at all times by on-premises armed security guards, paid for

       by Akhavan.

    5. Akhavan will give his express consent in writing to the use

       of reasonable force by the armed security guards to thwart

       any attempt to flee or to leave his apartment for any reason

       not authorized by this Order, Pre-Trial Services, or the




4 If Akhavan tests positive, then counsel should jointly call
Chambers.

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     Court.   In addition, the Court hereby authorizes such use of

     force.

  6. Except Akhavan’s counsel, any visitors for Akhavan will

     require pre-approval by Pre-Trial Services.

  7. Akhavan will be subject to strict supervision and electronic

     GPS monitoring, as directed by Pre-Trial Services.

  8. Akhavan will not have access to a cell phone.              Akhavan will

     not have access to the internet by any means, including but

     not   limited    to   ethernet     or   wi-fi,    except    for    trial

     preparation (e.g., review of documents) in the presence of

     and under the supervision of his counsel.            Akhavan may not

     send or receive any form of digital message (e.g., email,

     text message).

  9. The rented premises may contain one landline telephone, which

     must be monitored by a private guard.            Akhavan may use this

     telephone to communicate only with Pre-Trial Services and

     his attorneys, except as authorized in advance by Pre-Trial

     Services or the Court.       The private guard must screen all

     calls to ensure that Akhavan speaks with no one else.

SO ORDERED.

Dated:     New York, NY                       _______________________
           February 12, 2021                  JED S. RAKOFF, U.S.D.J.




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